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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

                          COURT FILE NO.: _________________

  Anthony Delcavo,
        Plaintiff

  v.

  Amsher Collections Services, Inc.,
        Defendant
  ________________________________________________________________________

                      COMPLAINT AND JURY DEMAND
  ________________________________________________________________________

                                    NATURE OF ACTION

         1.     This is an action brought pursuant to the Fair Debt Collection Practices Act

  (“FDCPA”), 15 U.S.C. § 1692 et seq.

                                JURISDICTION AND VENUE

         2.     This Court has jurisdiction pursuant to 15 U.S.C. § 1692k(d) and 28 U.S.C.

  § 1331.

         3.     Venue is proper before this Court pursuant to 28 U.S.C. §1391(b), where

  the acts and transactions giving rise to Plaintiff’s action occurred in this district, where

  Plaintiff resides in this district, and/or where Defendant transacts business in this district.




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                                          PARTIES

          4.    Plaintiff, Anthony Delcavo (“Plaintiff”), is a natural person who at all

  relevant times resided in the State of Colorado, County of Douglas, and City of Castle

  Rock.

          5.    Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).

          6.    Defendant, Amsher Collections Services, Inc. (“Defendant”), is an entity

  who at all relevant times was engaged, by use of the mails and telephone, in the business

  of attempting to collect a “debt” from Plaintiff, as defined by 15 U.S.C. §1692a(5).

          7.    Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6).

                                FACTUAL ALLEGATIONS

          8.    Plaintiff is a natural person obligated, or allegedly obligated, to pay a debt

  owed or due, or asserted to be owed or due a creditor other than Defendant.

          9.    Plaintiff’s obligation, or alleged obligation, owed or due, or asserted to be

  owed or due a creditor other than Defendant, arises from a transaction in which the

  money, property, insurance, or services that are the subject of the transaction were

  incurred primarily for personal, family, or household purposes—namely, a personal

  cellular telephone bill.

          10.   Defendant uses instrumentalities of interstate commerce or the mails in a

  business the principal purpose of which is the collection of any debts, and/or regularly

  collects or attempts to collect, directly or indirectly, debts owed or due, or asserted to be

  owed or due another.



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        11.    On August 8, 2011, Plaintiff placed a call to T-Mobile to cancel a cellular

  telephone contract.

        12.    On or about August 8, 2011, Plaintiff filed a complaint against T-Mobile

  with the Federal Communications Commission.

        13.    In a letter dated August 10, 2011, Sharon Bowers, Acting Chief of the

  Consumer Inquiries and Complaints Division of the FCC, informed T-Mobile of the

  complaint made by Plaintiff.

        14.     In a letter dated August 31, 2011, addressed to the FCC, in response to

  Plaintiff’s complaint, T-Mobile’s agent and/or employee “Lupe Chase” stated that T-

  Mobile had “placed a $30.00 good will adjustment on his account.” (See August 31, 2011

  Correspondence, attached hereto as Exhibit A).

        15.    On or about September 14, 2011, Plaintiff mailed a check in the amount of

  $212.03 to T-Mobile, along with a letter dated September 13, 2011, stating that the check

  represented accord and satisfaction for any and all amounts owed. (See September 13,

  2011 Correspondence, attached hereto as Exhibit B).

        16.    Colo. Rev. Stat. § 4-3-311(a)-(b) provides:

        If a person against whom a claim is asserted proves that (i) that person in
        good faith tendered an instrument to the claimant as full satisfaction of the
        claim, (ii) the amount of the claim was unliquidated or subject to a bona
        fide dispute, and (iii) the claimant obtained payment of the instrument, the
        following subsections apply.

        (b) Unless subsection (c) of this section applies, the claim is discharged if
        the person against whom the claim is asserted proves that the instrument or
        an accompanying written communication contained a conspicuous
        statement to the effect that the instrument was tendered as full satisfaction
        of the claim.

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          17.    Colo. Rev. Stat. § 4-3-311(c)(1) provides the following exception:

          Subject to subsection (d) of this section, a claim is not discharged under
          subsection (b) of this section if either of the following applies:

          (1) The claimant, if an organization, proves that (i) within a reasonable time
          before the tender, the claimant sent a conspicuous statement to the person
          against whom the claim is asserted that communications concerning
          disputed debts, including an instrument tendered as full satisfaction of a
          debt, are to be sent to a designated person, office, or place, and (ii) the
          instrument or accompanying communication was not received by that
          designated person, office, or place.

          18.    Upon information and good-faith belief, at no time has Defendant sent such

  a conspicuous statement to Plaintiff.

          19.    On September 19, 2011 T-Mobile negotiated Plaintiff’s $212.03 check via

  electronic debit. (See February 23, 2012 Payment Statement, attached hereto as Exhibit

  C).

          20.    Upon information and good-faith belief, T-Mobile deducted the $212.03

  from Plaintiff’s balance.

          21.    Upon information and good-faith belief, T-Mobile deducted $30.00 good

  will adjustment from Plaintiff’s balance.

          22.    Subsequently, upon information and good-faith belief, T-Mobile place the

  alleged debt with Defendant.

          23.    In connection of the collection of an alleged debt in default, Amsher sent

  Plaintiff initial written communication dated December 1, 2011, which stated in relevant

  part:

          Creditor Acct#:      430876236

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         Creditor:             T-MOBILE
         Principal:            $ 1126.65
         Total Due:            $ 1126.65
         ACS Account#:         12475399
         Access Code:          1.10529985.515

         24.    In its December 1, 2011 written communication, Defendant falsely

  represented the amount of the alleged debt.

         25.    On December 6, 2011, Plaintiff sent a written response to Amsher’s

  December 1, 2011 letter, which stated in relevant part:           “In accordance with your

  instructions I am disputing the validity of the debt referred to in your attached letter.”

         26.    Upon information and good-faith belief, Amsher received Plaintiffs written

  dispute on or about December 20, 2011.

         27.    Upon information and good-faith belief, Amsher has not yet provided

  Plaintiff with verification of the debt.

         28.    Despite its failure to respond to Plaintiff’s demand for verification, on or

  about March, 2012, Amsher reported the alleged debt referenced by account number

  “12475399” in the amount of $1,126.00 on Plaintiff’s credit report. (See March 6, 2012

  Correspondence, attached hereto as Exhibit D).

                                     COUNT I
                          VIOLATION OF 15 U.S.C. § 1692e(2)(A)

         29.    Plaintiff repeats and re-alleges each and every allegation contained above.

         30.    Defendant violated 15 U.S.C. § 1692e(2)(A) by falsely representing the

  character, amount, or legal status of Plaintiff’s alleged debt.

         WHEREFORE, Plaintiff prays for relief and judgment, as follows:


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              a) Adjudging that Defendant violated 15 U.S.C. § 1692e(2)(A);

              b) Awarding     Plaintiff   statutory   damages,   pursuant   to   15    U.S.C.

                 §1692k(a)(2)(A), in the amount of $1,000.00;

              c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k(a)(1);

              d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this

                 action pursuant to 15 U.S.C. § 1692(k)(a)(3);

              e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be

                 allowed under the law;

              f) Awarding such other and further relief as the Court may deem just and

                 proper.

                                     COUNT II
                            VIOLATION OF 15 U.S.C. § 1692e(8)

        31.      Plaintiff repeats and re-alleges each and every allegation contained above.

        32.      Defendant violated 15 U.S.C. § 1692e(8) by communicating or threatening

  to communicate credit information which is known or which should be known to be false.

        WHEREFORE, Plaintiff prays for relief and judgment, as follows:

              a) Adjudging that Defendant violated 15 U.S.C. § 1692e(8);

              b) Awarding     Plaintiff   statutory   damages,   pursuant   to   15    U.S.C.

                 §1692k(a)(2)(A), in the amount of $1,000.00;

              c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k(a)(1);

              d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this

                 action pursuant to 15 U.S.C. § 1692(k)(a)(3);


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               e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be

                  allowed under the law;

               f) Awarding such other and further relief as the Court may deem just and

                  proper.

                                      COUNT III
                             VIOLATION OF 15 U.S.C. § 1692e(10)

         33.      Plaintiff repeats and re-alleges each and every allegation contained above.

         34.      Defendant violated 15 U.S.C. § 1692e(10) by using false representations or

  deceptive practices in connection with the collection of an alleged debt from Plaintiff,

  including, but not limited to: misrepresenting the balance of the alleged debt.

         WHEREFORE, Plaintiff prays for relief and judgment, as follows:

               a) Adjudging that Defendant violated 15 U.S.C. § 1692e(10);

               b) Awarding     Plaintiff   statutory   damages,   pursuant   to     15   U.S.C.

                  §1692k(a)(2)(A), in the amount of $1,000.00;

               c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k(a)(1);

               d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this

                  action pursuant to 15 U.S.C. § 1692(k)(a)(3);

               e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be

                  allowed under the law;

               f) Awarding such other and further relief as the Court may deem just and

                  proper.




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                                      COUNT IV
                             VIOLATION OF 15 U.S.C. § 1692g(b)

         35.      Plaintiff repeats and re-alleges each and every allegation contained above.

         36.      Defendant violated 15 U.S.C. § 1692g(b) by, after receiving a written

  dispute of the alleged debt, failing to cease collection of the alleged debt until obtaining

  verification and mailing a copy of such verification to Plaintiff.

         WHEREFORE, Plaintiff prays for relief and judgment, as follows:

               a) Adjudging that Defendant violated 15 U.S.C. § 1692g(b);

               b) Awarding     Plaintiff   statutory   damages,   pursuant   to   15    U.S.C.

                  §1692k(a)(2)(A), in the amount of $1,000.00;

               c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k(a)(1);

               d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this

                  action pursuant to 15 U.S.C. § 1692(k)(a)(3);

               e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be

                  allowed under the law;

               f) Awarding such other and further relief as the Court may deem just and

                  proper.




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                                   TRIAL BY JURY

       37.   Plaintiff is entitled to and hereby demands a trial by jury.


                                      Respectfully submitted,


  November 2, 2012                    /s/ Craig J. Ehrlich
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